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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MONTANA

                                      HELENA DIVISION

 MARJORY JOHNS and
 JOANNE MANCHA,
                                                   No. CV-20-06-H-SEH
                                 Plaintiffs,

 vs.                                               ORDER

 ILLINOIS FARMERS
 INSURANCE COMPANY,

                                 Defendant.


       On April 28, 2021, the Court issued a Scheduling Order 1 that required,

among other things, that, on or before May 28, 2021, the parties file supplemental

briefs related to the pending 12(b)(2) motion to dismiss. 2

       Defendant filed a timely supplemental brief. 3 Plaintiff did not.

       ORDERED:

       Plaintiff shall, on or before June 4, 2021, by 4:45 p.m., file a supplemental




       1
           See Doc. 29.
       2
           See Docs. 29 at 2 and 9.
       3
           See Doc. 30.
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